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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

In re:

ALDERSON BROADDUS UNIVERSITY, INC., ET AL.,                                               Case No. 23-00427
                                                                                          Chapter 7
                  Debtors. 1

         ORDER GRANTING TRUSTEE’S MOTION TO COMPROMISE ESTATE’S
          INTEREST IN MARION COUNTY, WEST VIRGINIA OIL & GAS LEASE

         Pending is the Motion of Thomas H. Fluharty, Chapter 7 Trustee for the administratively

consolidated bankruptcy estates of Alderson Broaddus University, Inc. (“ABU”) and Alderson-

Broaddus Endowment Corporation (“ABEC”), by Counsel Joe M. Supple, to compromise ABU’s

and ABEC’s interest in 30.90875 acres of oil and gas in Paw Paw District, Marion County, West

Virginia for the sum of $10,000.00. The Court finding good cause to grant the motion does

accordingly,

         ORDER that the Trustee’s motion is GRANTED. It is further,

         ORDERED that the Trustee is authorized to compromise the Claim with Mike Ross, Inc.

for the gross amount of $10,000.00. The Trustee is further authorized to execute a quitclaim deed

and any other documents necessary to effectuate the terms of the compromise. The Trustee is

further authorized to offset against the purchase price, royalty payments improperly paid to the

ABU estate.


1 The Debtors in these chapter 7 cases and the last four digits of each Debtor’s taxpayer identification number are as
follows: Alderson Broaddus University, Inc. (7072) and Alderson-Broaddus Endowment Corporation (2324).
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Prepared by:



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